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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.
1:23-cv-05072-MLB

V.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

EXHIBIT E — Brittney Dewey Deposition Excerpts
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David Warth vs Gwinnett County Public Schools, et al.
Brittney Dewey October 04, 2024

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION
DAVID WARTH,
Plaintiff,

vs. CIVIL ACTION FILE
NO.: 1:23-CV-05072-MLB

GWINNETT COUNTY PUBLIC
SCHOOLS, GWINNETT COUNTY
SCHOOL POLICE, THOMAS
WILLIAMSON, Individually
and in his official capacity
as an employee of Gwinnett
County School Police, and
BRITTANY DEWEY, Individually
and in her official capacity
as an employee of Gwinnett
County Public Schools,

Defendants.

REMOTE DEPOSITION OF
BRITTNEY DEWEY

October 4, 2024
10:03 a.m.

(All attendees appeared remotely via
videoconferencing and/or teleconferencing. )

Vivian C. Whitlow, CCR, CVR
#6542-7835-9986-9952

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1 A That he was fixated on me and that he wanted
2 to kill me. And he had suicidal ideations.

3 Q And so when you saw that news report, did

4 Officer Williamson communicate with you about that --
5 those documents?

6 A You asked me when I saw those documents,

7 correct?

8 Q Yes.

9 A That's when his parents took it to the

10 media.

11 Q Okay. So you're saying his parents took it
12 to the media. Were you ever in possession of those

13 records yourself?

14 A No.

15 Q Was anyone at the school in possession of

16 those records to your knowledge?

17 A Not to my knowledge. I don't know.

18 Q Okay. I'm going to go back to what you

19 stated about being called into the office. So Officer
20 Williamson was there in the office and he told you on
a1 that very first occasion that David Warth had -- had
22 taken steps to harm you; am I correct in saying that?
23 A To kill me.
24 Q To kill you? Okay. There were other
25 administrators in the room, correct?

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David Warth vs Gwinnett County Public Schools, et al.

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1 A Yes.
2 Q Okay. And at that particular moment in
3 time, did Officer Williamson state that he was going
4 to arrest David Warth?
5 A No.
6 Q Okay. Did Officer Williams at that
7 particular point in time offer himself up to be a
8 contact person to communicate with you in case there
9 were any other issues?
10 A No.
11 Q Did Officer Williamson ever give you his
12 telephone number to call just in case there were any
13 issues?
14 A I don't recall.
15 Q Okay. So what happened after that meeting?
16 A The meeting in March of 2015?
17 Q Yes.
18 A I feared for my life, my family's life, and
19 my students' life.
20 Q Okay. Was David allowed to come back to
21 school?
22 A I went and sought a TPO.
23 Q Okay.
24 A And was granted a TPO. And no, he was not
25 allowed to come back to school.

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1 you see your name, correct?
2 A I did not see my name on the Facebook
3 postings.
4 Q But you still think he was fixated on you?
5 A He was fixated on me.
6 Q Okay. Now, during the timeframe that David
7 Warth was on bond, was there an issue with an e-mail
8 that you received?
9 A Yes.
10 Q Do you remember the date that you received
11 that e-mail?
12 A After I received the second TPO.
13 Q Okay. So you obtained a second TPO. Why
14 did you get a second TPO?
15 A On the advice of the Solicitor's office.
16 Q Wasn't -- didn't David have a bond at that
17 point?
18 A Yes, they explained it to me, but I don't
19 recall the, like, legitimates of it, but they
20 explained why I needed to seek another one.
21 Q Doesn't the bond provision itself function
22 as a temporary protective order?
23 MR. PEREIRA: Objection to form, calls for a
24 legal conclusion, but you can answer if you know
25 it.
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1 A Again, they explained it to me, but I
2 cannot, like, spit out, like, the legalization why.
3 BY MR. MASON:
4 Q Do you remember the name of the solicitor
5 that told you to get a second TPO?
6 A I do not remember.
7 Q Okay. All right. And so you received the
8 e-mail, correct?
9 A I did.
10 Q Okay. And you said that you received that
11 e-mail on what date?
12 A I believe it was five or six days after I
13 obtained the second TPO.
14 Q And where were you when you got that e-mail?
15 A In my classroom.
16 Q Okay. At Brookwood?
17 A Yes.
18 Q And David was no longer a student at
19 Brookwood at that time, correct?
20 A Correct.
21 Q Were you aware that David was a student at
22 Emory?
23 A I was not aware.
24 Q No one ever informed you that he was a
25 student at Emory?

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1 A No.

2 Q What was the nature of the e-mail that you
3 received?

4 A Very alarming, very life-threatening.

5 Q And who did you tell when you received the
6 e-mail?

A Officer Williamson.
Q How did you inform Officer Williamson?

9 A In person.

10 Q Can you describe the interaction for me.

11 A I went to him.

12 Q Where was Officer Williamson at?

13 A TI don't remember.

14 Q Was he walking the halls?

15 A It was -- I don't remember.

16 Q Was he perhaps in his office?

17 A I don't remember.
18 Q Okay. Why didn't you go to the principal
19 first?
20 A I don't -- because Officer Williamson, knew
21 -- he knew. He knew me and he knew that I had a
22 history of somebody threatening me, David threatening
23 me.
24 Q Wasn't Bo Ford on campus with you during
25 this entire series of exchange as well?

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Fw: URGENT
Brittney Dewey to: William Bo Ford, Thomas Wiillamson 02/06/2017 02:33 PM

History: “This message has been forwarded.

mene Forwarded by Brittney Dewey/Brookwood High/GCPS on 02/06/2017 02:33 PM ----~

From: Urgent <jacobporimelr@sigaint.org>
To: brittney_dewey@gwinnett.k12.ga.us
‘Date: 02/06/2017 01:49 PM

Subject: URGENT .

Do not show this message to police, family, friends, school officials, anyone else,

or you will be dead within 24 hours. If you disclose this letter and then try to

hide, every day we can't find you or every day you're surrounded by too many police
officers to safely kill you, someone you know will die in your place, Follow

these instructions carefully, and read this entire letter over and over until you
understand all of it. If you get any little

detail wrong, you will suffer dearly. This message has been sent through an
anonymous mailing service that the police can't track. They have tried for years and
have failed, People routinely use this service to email threats to principals to get
school days canceled. To this day, no one has ever been caught, This message was not
sent by anyone you have ever met before. We have ways of knowing that this message
has reached its intended recipient. You have until the end of today to reply "Love
your shirt!" to this message. This will serve as a statement that you intend to

comply with the orders below, and you will be given until the end of this week for
them to be fully carried out. Once these orders are obeyed, no one will be harmed,
and all of this will go away.

If you tell anyone about this, after people start dying, it will become known that

you were the one who could have prevented all of this, and you failed. It will be
made known that you could have met these demands and let the situation fade away,
and instead you chose to knowingly endanger the lives of everyone you've ever met
because of your selfish bloodlust for court action. We will make SURE that the
public finds out, even if your principal tries to hide it. If you fuck this up, you

will have to answer to every family your decision impacted. You will undoubtedly be
held liable in the lawsuits that will be taken against you for endangering the lives
you endangered by revealing this message. In addition, once you disclose this

letter, you will lose your chance to dismiss your-legal cases/orders/proceedings,
Court staffare specifically trained not to listen to witnesses whom they feel are
being threatened. Once the legal threats you have created go away, all of the

attacks will cease. It's far wiser to obey these orders and stop them before they

have to happen in order to coerce you into obeying.

There are 6 of us in total. We have a list of names of people important to you.

EXHIBIT

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Plaintiff's Exhibit 1

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Should you not obey these orders, should you do anything we don't want to happen, we
will proceed down this list, and kill each person in order for each day that these
demands are not met.

We know everything there is to know about you-where you work, where you live, to
which places you go when you think we can't find you (Linda's house, and the house
in Gallatin). We know who is important to you. We are monitoring you in ways you
could never conceive possible. "Bubbles," We have undercover informants keeping us
updated on your activity. You may be thinking of immediately telling your mom about
this letter, You may be thinking of immediately calling the police about this

letter, You may be thinking of telling a lawyer or doctor about this letter, If you

make any of these foolish decisions, we will know. You will die. And if not you,

then another person on the list will die in your place.

NO communication to the outside world of ANY kind about this. No texting, mail,
written statements, implied statements, or ANYTHING that might give another person
the.impression that this letter exists. That your decisions are being influenced by

this letter or that you are being threatened.

The demands here a are simple: Stop and undo all of your current legal activity, This
includes existing orders and proceedings. Do

not involve yourself with the state. There will be no criminal cases. There will be
no civil cases. Follow the SPECIFIC orders below, and no one will be harmed. 1
mistake will cost you your life, and potentially the lives of others,

By the time you read this sentence, you're likely in an all-consuming state of

panic. You are likely frantically trying to think of ways in which you'can testify
anonymously, Of ways in which you can alert the outside world that you received this
message. Abandon these efforts-they are the exact behavior that this letter is
specifically designed to discourage. You understand what we are trying to do. You
understand what we would not like, You understand what kind of behavior we will not,
AT ALL, tolerate. You know how aware we are, You know what subtleties in police,
judicial, and school behavior we are able to pick up on. You don't know how much we
are watching you. Do not run and tell your mom about this letter. Do not tell any
police officer, lawyer, counselor, or school official about this letter, or we will

know that youdid, and we will commence the-hunting. This is no longer a game. It
never was a game, It is life or death. If you tell or subtly hint to anyone-the

existence: -of this warning, we-will know, and anyone who has to die to ensure
obedience with our demands will die.

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The polide can't stop these attacks from happening, should we decide to strike, They
don't kndw who is on our list, They don't know who to guard. They don't know when or
where these attacks will happen. The killings will be swift. No one on the list will
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be able to call 911 in time, You are dealing with people who do not fear their own
deaths. Worst case scenario, no one can prevent a suicide killing. And even if

~ anyone is arrested, the state can't keep anyone locked away for an endless period of
time, And if you somehow get anyone arrested, who do you think they'll go after
right as soon as they are released? If you cause a situation where someone is better
off dead, you better believe they'll make every effort to kill you first

before they kill themselves.

Knowing your history, we have prepared for the event that you make the incredibly
stupid decision to disclose this warning to the police or co-workers. It will be

nigh on impossible for them to prove where the letter came from; making it very
difficult

for police to obtain enough probable cause for a warrant to arrest. And even if they
somehow do obtain a warrant, we have setup a measure to guarantee that no arrest
will be successfully made. We will, however, know that the police became involved,
And we will know exactly who involved them. You will die within 24 hours, and for
each day we can't find you, someone you know will die in your place, These deaths
will look like accidents, They will not be traceable to you. You will simply receive
phone call after phone call from family members telling you that more and more
friends and relatives have mysteriously died. If you report this warning, you will
likely be put into.a witness protection program. However, the other people on our

list will NOT be put into this program: you can't accurately guess who they are. DO
NOT TELL

ANYONE ABOUT THIS MESSAGE. All of the respondents/defendants in your cases have been
ordered to protect themselves. This is in case they are falsely accused of sending

. this message, We are an independent group who handles legal situations like the ones
you've caused. The defendants and

respondents in your cases have not requested these services from us, This message
was not sént by these respondents and defendants. We have chosen to do what we feel
is best forithese people. Since you don't know

who is oniour list, a string of deaths across state borders will be virtually

guaranteed if you show this note to anybody.

You are biespassing into a dangerous world by involving yourself with the state, You
are placing yourself into the range of desperate, deadly people, Should you disobey
this warning or not follow the orders below, you will set off a

catastrophic chain

of events: More and more people will die, triggering more and more police
investigation, All of this will come about because you failed to

cooperate. Worst :

comes to'worst, no legal paper will prevent a 1 deadly suicide mission. If this

killing process is stopped early by your obeying of this order, less people will be
involved, and the state will have less of an interest in prosecuting before a string
of killings occurs.

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However, if:you let this situation escalate, once people start dying, the state will
initiate an intense investigation, and they will prosecute with or without your
consent, Once prosecutorial decision-making leaves your hands, you will be dead in
the water. The killings will tally up. The moment you disclose this note, you
yourself: will be targeted, and deaths will occur at a much higher

frequency (for

your cotivenience, a chart is shown on the last page of this letter detailing the
killing plan). When, at any point, you follow the orders of this note, all
killing/hunting/maiming will cease, But all deaths that happen by that point will

not be undoable.

Should you, even after the first several deaths, remain disobedient and report this
message to:the police, worst case scenario, the end result will not be pretty. If no
further options to prevent state intervention become available, a

suicidal massacre will take place that you can't prevent or know when will happen,
At least 22 |

people will die in 1 day. You will never be able to undo this type of damage.

Fortunately, all of this can be prevented. You are being offered a deal. The

decision is:yours. If you report this information, you are putting hundreds of

people in danger and taking the biggest gamble

of your life, This is a gamble you will not win. You have a habit of leaving

yourself incredibly vulnerable on a daily basis. There have been several easy
opportinities to kal] you in the past that have not been taken because there was no
demonstrated need, However, if you heed the following instructions to the LETTER, no
one will be‘harmed, and safety will be guaranteed, You have 2 days:

Go BY YOURSELF, after work, to any civil courts you have visited in the last 4
years. Ask to speak to the clerk of the court. Tell the clerk of the court that you

wish to file a motion to dismiss any specific court orders or pending cases you
currently have in place. BE SPECIFIC. For example, say "I would like to file a
motion tojdismiss my current divorce proceeding,” or "I would like to file a motion
to dismiss my current small claims suit," or "I would like to file a motion to .
dismiss my cuxrent restraining order." DO NOT say anything that is obviously vague,
like "I would like to file a motion to dismiss any court orders I

currently have in

place.” You will be required to provide an address for the respondent in the cases
you are irivolved in. Bring this information with you to the courthouse. Depending on
your cases, a hearing may be scheduled to discuss the case dismissal. If this

happens, you are to ATTEND this hearing, and give the appropriate

testimony as

described below.

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YOU WILL: BE QUESTIONED AT SOME POINT as to why you are dismissing your cases,
YOU

WILL BE PRESSURED BY THE COURT to reveal what you have learned in this letter, Guard
the secret of this message with your life. Betray no suggestion that it ever

existed. The,

urge you'll éxperience to let slip this information will be agonizingly tremendous,

When this happens, you are to "get into character" like good actors do, and give the

following explanation i in a manner that feels BELIEVABLE; "I worked out an agreement

with his/het attorney to dismiss this case and settle the issue outside of court."

You are to act as though the following statements are true:

~Your lawyer has been in contact with the respondent's lawyer (say this even if you
don't have a lawyer. If you have to, pretend that you hired a private attorney whose
name you can't really pronounce or remember correctly),

-If anyone asks, your attorney contacted the respondent's attorney first. - You feel
safe.

-No one has threatened or bribed you,

-You are trying to settle the current matter outside of court to keep everyone's
-record clean.

-(For any divorce cases) the respondent no longer lives near you,

-(For any small claims cases) the respondent has agreed to settle. -You and your
lawyer areidiscussing further legal action, but at the moment, you've

agreed to file this motion to dismiss this current case.

~The respgndent (in all cases) has had no contact with you of any kind. ~The
respondent (in all cases) has not threatened you in any way,

-Say that you wanted to represent yourself as to not incur legal fees, and have
already been advised by counsel.

IMMEDIATELY AFTER you have finished at the civil court, you are to go to the state
court in the counties of any criminal cases you are involved in. You are to speak to
the court's victim witness coordinator, and ask for the charges in your case(s) to
be dropped, The victim witness coordinator will have you submit a written request
that will bé notarized in the court building itself. If asked for the reason why you
ate doing ‘this, you are to give the same reasons as before. Say ONLY what you have
to: H
-You are tying to settle the current matter outside of court as part of an
agreement to keep. everyone's record clean.
-If anyone! asks, your attorney contacted the respondent's attorney first. -You feel
safe... I!
-No one has threatened or bribed you.
-(For any’ divorce cases) the respondent no longer lives near you.
-(For any) small claims cases) the respondent has agreed to settle, -You and your

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lawyer are discussing further legal action, but at the moment, you've

agreed to file this motion to dismiss this current case.

~The respondent (in all cases) has had no contact with you of any kind, -The
respondent Gin all cases) has not threatened you in any way.

After you submit this written statement, ask for the prosecutor to be notified as
soon as- possible. You are also to prepare a story in case the prosecutor wants to
talk to you directly, Make up plausible reasons as to why you would be doing this,
but do NOT imply that you are doing it because you feel threatened in any way. For
example, maybe your ex-spouse has agreed to move away, or maybe you worked out some
kind of agréement with the respondent's lawyer directly where you agreed for a
different type of order to be put into place in a different legal

department; Prosecutors are TRAINED to screen for witness intimidation through
subtleties if witness behavior. If you give the prosecutor(s) in your cases any

sense that you feel threatened, you will lose influence on their decision to dismiss
your own cases. Again,

STAY IN CHARACTER, like good actors do.

If any respondents attorneys actually become involved, you are to agree with any
rationale they give for justifying case/proceeding/order dismissal.

Once you have done these two court activities, you are to LET THESE CASES DIE. ONLY
discuss them when you are approached about them, and ONLY say what you have to to
let the person approaching you about the cases know that you are

dismissing them

because you worked out an agreement with the respondent's lawyer. If anyone who is
super involved in your cases, to the point that they are scheduling their own time
around your cases, should approach you to discuss your cases with you, say what you.
have to toibelievably diffuse their level of involvement. If anyone asks how you've
been in contact with the respondents'/defendants' attorneys, say that you had a

private attorney contact their

attorney, Make sure all case activity is diffused as it comes, and let the cases

fade, Youlare never to take legal/police/state action again for the rest of your

life, These! killing schedules extend indefinitely should you foolishly decide to

become rednvolved with the state.

You are under a severe time constraint.

You have 2 days from the delivery of this letter to do these tasks before we

initiate the first attack. Do not delay. It will happen at any point within the

week. Do not consider this to be an offer you can refuse or "think about." Follow
our orders, Going to the police or notifying another school staff member about this
means GUARANTEED DEATH, by suicide

mission if necessary.

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{ .
Once you have received this letter, reply to this email with the text "love your
shirt!". This'will serve as a statement that you intend
to obey these orders, If you do this, you will be given until February 10th to fully
carry out these legal tasks,

If you do nat send this email, the first attack will be carried out. The first

target has already been selected, and an ambush location which they frequently visit
has already been identified, If the name "Marianne Ciciarelli" means anything to
you, you caf relax:

She is not whom we will first attack. We have chosen a different unrelated target
whom you ;

have directirelations with. If you fail to send the above email, this person will be
severely maimed, and will likely need to go to the hospital, but they will not be ©
killed. This will serve as your last warning to the seriousness of this letter.
Afterwards, for each week the cases still exist, the actual killing will begin.

{.
This is nota game. There is nowhere you can go. There is no one you can safely
speak to. There is nothing you can do to stop imminent death EXCEPT for obeying THE
INTENTION behind these orders, You are dealing with people who do not fear their own
deaths. You are dealing with people who are willing to sacrifice
themselves in order to accomplish their goals. You are dealing with people who tap
into electronics and phone conversations,
You are déaling with people who anticipate and sidestep police tactics. You are dealing
with people who have informants everywhere. You are dealing with people who are not
afraid of court papers if they intend to kill you or anyone else, You are dealing
with a team of 6 desperate people in a blood pact who are trying to protect their
family and doved ones from gang and police activity. You are dealing with people who
kill on a daily basis in exchange for their own assassination needs.

People did every day from situations like the one you're in right now, The ones who
survive are the ones who back out. The ones who don't mess with the wrong people.

The ones iho don't do anything to piss off anybody,

And if you're thinking you can somehow anonymously speak to someone in private about —
this situation, you might want to consider just how closely you're actually being

watched: |"
|

(we werej going to include a photo we took of you in the Walmart parking lot next to
your house in the neighborhood behind Cofer Circle here, but we're not about to send

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an unsecured image file to a clearnet email address. Especially the address of a
potential squealer.)

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This is not a dream, This is not a false promise, It is really happening, You are
actually being faced with potential death, should you not obey.

But you know what?
!
All of this gan go away.

You have tiwo choices: a gamble you cannot hope to win, or guaranteed survival for at
least one nore year. There will not be any reason to threaten you if your actions no
longer threaten anyone else.

1° .
Take the edsy way out.
Cancel all of your civil and criminal cases, court orders, and
proceedings,

Do not tryifo fight a battle that will lead to you or your family's certain doom,
|

You cannot hide everyone. You cannot arrest someone if you don't know where they
ate. You cannot stop a suicide mission. You cannot lock someone away forever.

Obey these orders. Keep this a secret. Send the email reply to buy yourself time.
Follow out orders,

and escape this situation while you still have your life, before anyone has died
yet. All emails to

this address will be read, You will not get a response, but all

information you send will be taken into consideration, Any efforts to stall this
process will be met with penalty.

For-your convenience, below is a list of prohibited behavior and the severity of
said behavior's consequences:

The following incidents will trigger the weekly killing schedule:

-Not sending the email reply within 1 day

-Your current pending cases/court orders still existing after 2 days if the above
email has not been sent

-Your further testimony as a witness

Stalling | or "fake" behavior (sending the email but not actually carrying out the

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above-mentioned legal orders)
-Any attempt to "bargain" with us, i.e, "I'll cancel the criminal cases if you keep
the civil ones,” or "I'll cancel the civil cases if you keep the criminal ones,"

The following incidents will trigger the daily killing schedule:

~Unwanted police activity:

-An attempted arrest

-additional legal action/motions

-The begintting of court proceedings - 1
~attempting'to hide from the school (informants are keeping track of your attendance
and whereabouts. )

The following incidents will trigger your instant death, an expedited killing
schedule, and a potential suicidal rampage mission:

-Disclosing the existence of this letter in any way, through any level of subtle ety
We're assuming that you're going to show this message to the police and then try to
hide, We have already tracked which series of events will indicate that this is your
intention. We have a special target selected in the event that this is your

intention. The police will not be able to respond in time to prevent this killing,
This person is especially vulnerable and dear to you.

We're alsolassuming that you're going to try and ignore this message. We have ways
of knowing; that you received it, If you do not

send the specific email response listed above, the first killing on our list will be
done by next week,

The police will not help you in the way you think they will. There is no probable
cause in this message to warrant the arrest any specific person. No court in the
land will allow this message, due to its layers of anonymity, to be entered into
evidence, You'll endanger far

more lives than you'll save by showing this message to them.

But don't worry, special precautions which, for obvious reasons, are not listed here
have been/taken in the case that this letter is turned over to a

professional

investignti

Use comrtion sense. Why would you knowingly jeopardize the lives of your family and
loved ones?

You have until the end of today before you are presumed disobedient, If you send the
email described above, you will be granted until the end of this week for all
cases/orders/proceedings to be dismissed, Not for motions to be filed, but to be
outright DISMISSED. These things take time. Better hurry, Sending live updates of
what coutt staff say to you and how far you've gotten in the process to

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this email address will reflect favorably on your situation.

You are attempting to harm some of the most innocent and beloved people and children
in the community. These people are loved by vast support networks, who would die to
protect them from dishonest, threatening individuals like you. Stop this ridiculous,
racist persecution

immediately, or we will see to it that you suffer every shred of the agony you and

your corrupted school are causing in the community.

Reply "Love your shirt!" to this email by the end of today, and you will be given a
grace period-until the end of this week-before we take any further action against
you, Don't bother trying to ignore this message or pretend you didn't receive it:

you may be interested to know just how easy it is to tap into and monitor electronic
devices. If you don't send this email, the first attack will commence and be carried
out by the end of next week.

And ifa police officer is reading this message over your shoulder right now, the 5
nearest peaple to you are as good as dead.
